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                  EXHIBIT 16
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Fleetscape is a leading alternative capital provider to the global                                                                                 Sevenseas Investment Fund
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Fleetscape is a leading alternative capital provider to the global shipping and offshore oil service
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Our 10 person team has extensive expertise in maritime finance, vessel operations, and naval                                           Dotnet Developer jobs
architecture through offices in London, Frankfurt and New York.                                                                        33,977 open jobs

                                                                                                                                       Senior jobs
Typical equity investment sizes range from $10 million to $50 million with the ability to invest up to
                                                                                                                                       1,151,246 open jobs
$200 million through co-investment from our limited partners and/or affiliated investment funds.
                                                                                                                                       Software Engineer jobs
                                                                                                                                       463,933 open jobs
Website                                                   https://www.fleetscape.com/                                                  Developer jobs
                                                                                                                                       333,876 open jobs
Industries                                                Financial Services
                                                                                                                                       Controller jobs
Company size                                              1-10 employees                                                               76,221 open jobs

                                                                                                                                       Investment Analyst jobs
Headquarters                                              London, England
                                                                                                                                       14,328 open jobs
Type                                                      Privately Held                                                               Analyst jobs
                                                                                                                                       761,260 open jobs
Founded                                                   2017




Locations
Primary

10 Bressenden Place
London, England SW1E 5DH, GB
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Employees at Fleetscape Capital

            Niklas Røine
            Fleetscape Capital - Oaktree


            Emmanouela Kominaki
            Intern at Fleetscape Capital


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  Fleetscape has acquired six handysize vessels from Asia Maritime Pacific
  Limited (“AMP”). The vessels will be leased back to AMP on a five-year basis
  with a purchase obligation at maturity.

  Description: In September 2021, Fleetscape completed its first Sale and
  Leaseback (“SLB”) transaction with Asia Maritime Pacific Limited (“AMP”) by
  acquiring six 35,800 DWT Handy size vessels. The proceeds from the
  transactions were used to part-finance the acquisition cost of the vessels. The
  vessels were acquired in back-to-back SLBs with Fleetscape, which included a
  purchase obligation by AMP at the end of the five-year charter period.

  Guillaume Bayol, Managing Director and Co-portfolio manager at Oaktree, said:
  “Fleetscape are excited to finance the acquisition of a fleet of handysize vessels
  with AMP. The company has a large fleet, proven track record and a strong
  regional presence which fits well within Fleetscape’s strategy. We look forward
  to further expanding the relationship with AMP going forward”

  AMP is an Asia-based dry bulk shipowner and operator, specializing in offering
  personalized solutions and reliable, innovative solutions to its customers via its
  modern fleet of Handysize and mini-bulker vessels, specially designed and
  fitted to service AMP’s trades. AMP has over 100 employees, spread over their
  headquarters in Hong Kong and offices in Shanghai, Tokyo, Melbourne, Austin,
  London and Douala. Team members include experienced shipping professionals,
  and the company has extensive in-house technical, commercial and corporate
  capabilities. For more information on AMP, see www.ampship.com.

  #shipfinance #maritimeleasing #drybulk #maritime #shipping #finance


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  Fleetscape has acquired two chemical tankers, “RF Stella” and “RF Marina” from
  RFOcean Limited (“RFOcean”). The vessels will be leased back to RFO on a five-
  year basis with a purchase obligation at maturity. The total acquisition price of
  the vessel was US$14.4 million.
  #shipfinance #maritimeleasing #chemicaltankers


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  Fleetscape has partnered with Foresight Limited “Foresight” for the sale and
  lease-back of a 80,100 cbm VLGC, “Lotus Gas” since renamed “Surya Veerya”.
  The vessel will be leased back to Foresight for a five-year term with a purchase
  obligation at maturity.
  #gas #vlgc #maritimeleasing #foresight #shipfinance #assetfinance


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